                      Case 3:22-mj-00430-ARS Document 1 Filed 07/29/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                    District of
                                                __________      Northof
                                                             District Dakota
                                                                        __________

                  United States of America                          )
                             v.                                     )
   DATAVIAN SEAN JOSEPH a/k/a DAY DUCE                              )      Case No.
                                                                                 o..
                                                                                 o
                                                                    )
               a/k/a DUCE                                           )
                                                                    )
                                                                    )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On orr about the date(s) of        beginning of 2020 through July 2022     in the county of                                     in tthe
                       District of         North Dakota        , the defendant(s) violated:

            Code Section                                                      Offense Description
21 U.S.C. 841                                  Possession with Intent to Distribute a Controlled Substance
21 U.S.C. 846                                  Conspiracy to Distribute and Possession with Intent to Distribute a Controlled
                                               Substance




         This criminal complaint is based on these facts:
See Attached Affidavit




         ✔ Continued on the attached sheet.
         u


                                                                                               Complainant s signature
                                                                                               Complainant’s

                                                                                       Special Agent Isaiah Soldier, BIA-DDE
                                                                                                Printed name and title

Sworn
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Date::
                                                                                                  Judge’s
                                                                                                  JJu
                                                                                                    udge’s signature

City and state:                          Fargo, ND                                     Alice R. Senechal, US Magistrate Judge
                                                                                                Printed name and title
